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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION


 UNITED STATES OF AMERICA,

        v.                                                 CASE NO.: 2:18-cr-41

 CALEB JAMES ANDERSON,

                Defendant.


                                           ORDER

       On December 10, 2018, counsel for Defendant filed a Notice to Counsel Response.

(Doc. 107). In that Notice, counsel for Defendant advised the Court that all pretrial motions filed

in this case as to Defendant Caleb James Anderson have been resolved.

       Accordingly, the Court DISMISSES AS MOOT all motions, (docs. 72-93), as to

Defendant Caleb James Anderson. Additionally, the Motions Hearing that is currently set for

December 17, 2018, as to Defendant Caleb James Anderson, is hereby CANCELLED.

       SO ORDERED, this 12th day of December, 2018.




                                      BENJAMIN W. CHEESBRO
                                      UNITED STATES MAGISTRATE JUDGE
                                      SOUTHERN DISTRICT OF GEORGIA
